about:blank

Firefox
UNITED STATES DISTRICT COURT TRANSCRIPT ORDER COURT USE ONLY
NORTHERN DISTRICT OF CALIFORNIA Please use one form per court reporter. Please read instructions on next page. DUE DATE:
CAND 435 CJA Counsel should NOT use this form.
(CAND Rev. 07/2024) CJA Counsel should request transcripts by submitting a AUTH24 in eVoucher.
we
S 4a. CONTACT PERSON FOR THIS ORDER 2a. CONTACT PHONE NUMBER 3. CONTACT EMAIL ADDRESS
wo Farhan Siddique(contractor to the SEC) (847) 204-5760 transcriptservices @ sandfsw.com
oD)
oO ib. ATTORNEY NAME (if different) 2b. ATTORNEY PHONE NUMBER 3. ATTORNEY EMAIL ADDRESS
oO Eric Pease (415) 705-8112 peasee @sec.gov
Lo 4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE) 5. CASE NAME 6. CASE NUMBER
N US SEC i
S 44 Montgomery Street, Suite 700, San Francisco, CA 94104 USA v. ROWLAND MARCUS ANDRADE 3:20-cr-00249
—
3 8. THIS TRANSCRIPT ORDER IS FOR:
Oo 7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)— © FTIR © APPEAL @ CRIMINAL (0 In forma pauperis (NOTE: Court order for transcripts must be
2 Ana Dub CENON-APPEAL CIVIL attached) CJA: Do not use this form; use Form AUTH24 in eVoucher.
LL

9. a ES) ces peat portion(s) a and ee of epee) for which transcript is requested) format(s) & Heaney and a annteny type:

wo
3 a. _HEARING(S) (OR PORTIONS OF HEARINGS) e SELECT FORMATS) (NOTE: EOF acess is incuded c. DELIVERY TYPE (Choose one per line)
c
DATE JUDGE TYPE _ PORTION a PDF TEXT/ASCH PAPER CONDENSED | ECFAOCESS | ORDINARY 14-Day EXPEDITED SDAY DAILY HOURLY REALTIME
= (initials) (og. CMC)) LaPeer | oo (email) (emai) (web) | 0-day) (7-day) (Netdey) | (2hrs)
5
2 02/10/2025  R Seeborg Jury Selection Oo @ O Oo oO O Oo @ O O ° O
QO 02/18/2025 RSeeborg | Trial | Entire duration of trial Oo @ O oO Oo Oo Oo @ O O oO Oo
w 03/10/2025 | R Seeborg Entire duration Jury O @ oO oO O O © ® © O O 0
a O0.60U6mB@6UCOOWUCU a Cool Cd lO em lo CPG a lo ee
q O ° O° oO o 10 [@ o 6 ~@ o Ge
2 O O O O o|0 22. 0 0 ».0 . O 8
3 140. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:
N Entire trial 2/18/2025 thru 3/5/2025 ASCIl transcripts, please email transcript to peasee @sec.gov and invoice to
9 transcriptservices @ sandfsw.com
a
5 ORDER & CERTIFICATION (11. & 12.) By signing below, | certify that | will pay all charges (deposit plus additional). 12. DATE
11. SIGNATURE
s/Farhan siddique 03/27/2025
Clear Form Save as new PDF

1 of 3 3/27/2025, 09:16 AM

